  Case 1:10-cv-01593-KBF-DCF    Document 86    Filed 11/07/12    Page 1 of 47




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------- X

SAFETY MANAGEMENT SYSTEMS, INC.
                                                          10 Civ. 1593
                                Plaintiff,

               v.

SAFETY SOFTWARE LIMITED,
                                                         tlSDCSDNY
                                Defendant.               DOCUMENT
                                                         ELECTRONiCALLY FILED
---------------------------------------- X               DOC I#:_--.-.rx-r...--::;~--I

SAFETY SOFTWARE LIMITED,

                Counterclaim Plaintiff,

               v.

SAFETY MANAGEMENT SYSTEMS, INC., and
CHRISTEIN DUCKER,

                    Counterclaim Defendants.
---------------------------------------- X




                               JURy CHARGES

                           October       , 2012




                                     1
    Case 1:10-cv-01593-KBF-DCF                        Document 86              Filed 11/07/12            Page 2 of 47




                                                Table of Contents

          GENERAL INSTRUCTIONS ................... ············· . . . . . . . 33
  I .A.     Role of the Court . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. .... 4
    B       Role of the Jury . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            5
    C..     Evidence. . . . . . . . . . . . . . . . . . . . . . . . . . . . .. .. .. .. . .. .. . . .. .. .. . . .. .. .. .. . . ..
                                                                                                               . ....... 8
    D.      Credibility of Witnesses ....................... ··                                                                  10
    E.      Burden of Proo f ...................... . . . .............................. . 11
  II. CHARGES ..... . . . . . . . . . . . . . . . . . . . .................................................... . 11
    A.      Breach of Contract ..................................... .
        1. Formation 0 f a Cont rac t ........................ . . . . . . . . 12
        2.   Performance and Non-Performance ........................ ~!
        3 . Damage. . . . . . . . . . . . . . . . . . . . . . . . . . . . . ...................................... .. 15
        4.   Material Breach ....................................... .
        5. Both Sides Are Alleging the Other Breached the Contract17
        6.   SMS's Breach of Contract Claim(s) Against SSL .......... 18
        7.   SSL's Breach of Contract Claim(s) Against SMS .......... 22
   B.      Quantum Meruit .......................................... 25
   C.      SSL's Claim of Personal Liability of Ducker (Piercing the
     Veil) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 27
      1. Corporate Veil Piercing: Generally ..................... 27
      2.    Veil Piercing: First Element: Existence of Domination .. 29
      3. Veil Piercing: Second and Third Elements: Use of
      Domination to Commit a Fraud or Wrong ...................... 31
      4.    Veil Piercing: Fourth Element: Balancing the Purposes of
      L' ' t d L' b'l'
       ~m~ e     ~a ~ ~ty .......................................... 34
 III.
   A.
          DAMAGES  ................................................. 36
  B.     Consider Damages Only If Necessary ...................... 36
  C.     Purpose   of Damages ...................................... 37
  D.     Breach of Contract Damages .............................. 39
  E.
         Set-Off. . . . . . . . . . . . . . . . . . . . . . . . . .
         Breach of Contract: SMS' Claim for Lost Profits
                                                                     . .. . .. . .. . .. . .. .. .. .. .. .. .. ... .....
                                                                                                                     40
                                                                                                                     41
  F.
         Breach of Contract Damages: SSL's Claims                                                         ........ .
  G.     Quantum Meruit Damages                                                       ··········· ..... 43
  H.                . .
         Duty to M~t~gate         Damages    .. .................................................................. 44
IV. CONCLUDING REMARKS                            ................................ 45
                                 . ....................................... 46




                                                           2
     Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 3 of 47




I.     GBNERAL INSTROCTIONS

        A.    Role of the Court

       You have now heard all of the evidence in the case as well

as the final arguments of the lawyers for the parties.              My duty

at this point is to instruct you as to the law.            It is your duty

to accept these instructions of law and apply them to the facts

as you determine them.

       On these legal matters, you must take the law as I give it

to you.      Regardless of any opinion that you may have as to what

the law may be--or ought to be--it would violate your sworn duty

to base a verdict upon any other view of the law than that which

I give you.      If an attorney has stated a legal principle

different from any that I state to you in my instructions, it is

my instructions that you must follow.




                                      3
  Case 1:10-cv-01593-KBF-DCF    Document 86   Filed 11/07/12   Page 4 of 47




     B.      Role of the JUry

     Your role is to pass upon and decide the fact issues that

are in the case.     You, the members of the jury, are the sole and

exclusive judges of the facts.      You pass upon the weight of the

evidence; you determine the credibility of the witnesses; you

resolve such conflicts as there may be in the testimony; and you

draw whatever reasonable inferences you decide to draw from the

facts as you have determined them.

     In determining the facts, you must rely upon your own

recollection of the evidence.      You should bear in mind

particularly that a question put to a witness is never evidence.

It is only the answer which is evidence.        Remember also that you

are not to consider statements that I struck or told you to

disregard.    That stricken or excluded testimony is not evidence

and may not be considered by you in rendering your verdict.




                                    4
  Case 1:10-cv-01593-KBF-DCF    Document 86   Filed 11/07/12   Page 5 of 47




      C.       Evidence

     The evidence before you consists of the answers given by

witnesses and the exhibits and stipulations that were received

into evidence.

     There are two types of evidence that you may properly use

in reaching your verdict.       One type of evidence is direct

evidence.       One kind of direct evidence is a witness's testimony

about something he or she knows by virtue of his or her own

senses--something the witness has seen, felt, touched or heard.

Direct evidence may also be in the form of an exhibit.

     The other type of evidence is circumstantial evidence.

Circumstantial evidence is evidence that tends to prove one fact

by proof of other facts.       There is a simple example of

circumstantial evidence that is often used in this courthouse.

     Assume that when you came into the courthouse this morning

the sun was shining and it was a nice day.        Assume that the

courtroom blinds are drawn and you cannot look outside.            As you

are sitting here, someone walks in with an umbrella that is

dripping wet.       Somebody else then walks in with a raincoat that

is also dripping wet.

     Now   t   you cannot look outside the courtroom and you cannot

see whether or not it is raining.        So you have no direct

evidence of that fact.       But on the combination of the facts that


                                     5
  Case 1:10-cv-01593-KBF-DCF   Document 86     Filed 11/07/12   Page 6 of 47




I have asked you to assume, it would be reasonable and logical

--though not necessarily required--for you to conclude that

between the time you arrived at the courthouse and the time

these people walked in, it had started to rain.

        That is all there is to circumstantial evidence.          You infer

on the basis of reason and experience and common sense from an

established fact the existence or the nonexistence of some other

fact.

        Many facts, such as a person's state of mind, can only

rarely be proved by direct evidence.         Circumstantial evidence is

of no less value than direct evidence.         It is a general rule

that the law makes no distinction between direct and

circumstantial evidence, but simply requires that you, the jury,

decide the facts in accordance with the preponderance of all the

evidence, both direct and circumstantial.

        Here, you have heard testimony from plaintiff, both

defendants and a number of witnesses.        I will expand on this in

a moment, but I want to stress that you are the sole judges of

the credibility of these witnesses and you weigh the evidence.

You must look at the facts as objectively as you can--and it is

within your role as jurors to draw reasonable inferences from

these objective facts.

        Finally, let me state a final point: when you are

determining issues of fact you are weighing the eVidence--you

                                   6
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 7 of 47




are determining whether evidence should be given no weight, some

weight or a lot of weight.     Any evidence that you are relying

upon should be credible based on your judgment of all relevant

facts and circumstances.




                                   7
   Case 1:10-cv-01593-KBF-DCF   Document 86    Filed 11/07/12   Page 8 of 47




      D.     Credibility of Witnesses

     Now for the important subject of evaluating testimony.              How

do you evaluate the credibility or believability of the

witnesses?     The answer is that you use your plain common sense.

Common sense is your greatest asset as a juror.           You should ask

yourselves: Did the witness impress you as honest, open and

candid?    Or did the witness appear evasive or as though the

witness was trying to hide something?         How responsive was the

witness to the questions asked on direct examination and on

cross-examination?

     If you find that a witness is intentionally telling a

falsehood, that is always a matter of importance that you should

weigh carefully.     If you find that any witness has lied under

oath at this trial, you should view the testimony of such a

witness cautiously and weigh it with great care.           It is,

however, for you to decide how much of the witness's testimony,

if any, you wish to believe.      Few people recall every detail of

every event precisely the same way.      A witness may be

inaccurate, contradictory, or even untruthful in some respects

and yet entirely believable and truthful in other respects.              It

is for you to determine whether such inconsistencies are

significant or inconsequential, and whether to accept or reject




                                    s
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 9 of 47




all or to accept some and reject the balance of the testimony of

any witness.




                                   9
   Case 1:10-cv-01593-KBF-DCF     Document 86   Filed 11/07/12   Page 10 of 47




         E.     Burden of Proof

     Before I instruct you on the issues you must decide, I want

to define for you the standard under which you will decide

whether a party has met its burden of proof on a particular

issue.        The standard that applies in this case is the

preponderance of the credible evidence.

     To establish by a preponderance of the credible evidence

means that the evidence of the party having the burden of proof

must be more convincing and persuasive to you than that opposed

to it.        The difference in persuasiveness need not be great: so

long as you find that the scales tip, however slightly, in favor

of the party with the burden of proof--that what the party

claims is more likely than not true--then that element will have

been proved by a preponderance of the credible evidence.




                                     10
 Case 1:10-cv-01593-KBF-DCF     Document 86   Filed 11/07/12   Page 11 of 47




II.   CHARGES

      A.     Breach of Contract

      In this action, each party seeks damages against the other

for breach of contract.       Generally speaking, a contract is an

agreement between two or more persons to do a certain thing or

things.     A breach of contract is a failure to perform a

contract.     In order to succeed on a claim for breach of

contract, either party must prove by a preponderance of the

evidence that a contract existed and that the other party

breached that contract.       More specifically, the elements of a

claim for breach of contract are:

      First, formation of a contract between the parties.

      Second, performance by one party.

      Third, the other party's failure to perform; and

      Fourth, resulting damage.

I will discuss each of these elements.




                                    11
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12    Page 12 of 47




           1.    Formation of a Contract

     A contract is a legally enforceable agreement to do or not

to do something.    There can be written or oral contracts.            There

are two contracts at issue in this case.        First, the parties do

not dispute the existence of a valid written contract between

them--that is the License Agreement.

     However, SMS asserts that it had a separate, oral contract

with SSL for SSL to reimburse SMS for hosting fees that it had

paid while the License Agreement was in effect.          It is up to you

to determine whether SMS has proven the existence of such an

oral contract by a preponderance of the evidence.             To find that

a contract exists, SMS must prove two things.

     First, SMS must prove by a preponderance of the evidence

that the parties agreed on essential terms of the contract

regarding repayment of hosting fees--meaning that there was an

offer, acceptance, and consideration.        The concepts of offer and

acceptance are self-explanatory.        Consideration means the giving

of something of value.    Let me give you an example: if

businesspeople each agree to do one thing in exchange for

something else, that would be consideration.

     Second, SMS must prove by a preponderance of the evidence

that there was a meeting of the minds between SMS and SSL about

the terms of the hosting-fee contract, as well as a mutual

intent to be bound by the terms of the oral contract.

                                   12
  Case 1:10-cv-01593-KBF-DCF   Document 86    Filed 11/07/12   Page 13 of 47




            2.   Performance and Non-Performance

       The next two elements of a cause of action for breach of

contract are that one party performed its obligations under the

contract and the other party did not.         Performance simply means

that the party did what it had promised to do in the contract.

Failure to perform, or non-performance, means that the party did

not do what it had agreed to do in the contract.

       Let me give you a simple example:       say you enter a contract

with a friend to buy his hat for $5.         To fulfill your obligation

under that contract you have to pay $5--that payment constitutes

your performance.    For your friend to fulfill his obligation

under the contract, your friend needs to provide you with the

hat.    If, however, you pay your friend $5 and he does not give

you a hat, you have performed and he has failed to perform.

       Here, it is for you to determine what each party had

promised to do under the contract and whether it did it.




                                   13
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 14 of 47




           3.   Damage

     Finally, for either party to prevail on a breach of

contract claim, it must prove the fourth element: that the party

was damaged by the other's failure to perform--that is, to do

what that party promised to do.

     In our hat example, if your friend provided you with the

hat and you did not pay him the agreed $5, he would have

suffered damage.    The reverse is also true.       If you provided

your friend with the $5 and he never provided you with the hat,

you would have been damaged.

     I will provide further instructions on how to calculate and

determine damages in a moment.




                                   14
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 15 of 47




            4.    Material Breach

     Under New York law, if one party to a contract fails to

perform its obligations under a contract in some minor way, that

minor failure may not relieve the other party of its obligation

to continue to do that which it promised to do under the

contract.     For instance, in our hat example, if you and your

friend entered into a contract to exchange a hat for $5 at 3:00

p.m. and the hat is delivered at 3:01 p.m., it is unlikely that

the one minute difference would mean that you no longer had to

pay the $5.

     A party's performance under a contract is only excused in

instances when the other party has committed what the law refers

to as a "material breach."     For a breach to be material, the

breach must go to the heart of the agreement between the

parties.    Put another way, material breach occurs when one party

substantially fails to perform its side of the bargain.            Again,

in our hat example, if you agreed to pay $5 for a red hat and

explained to your friend that red is an important color for you,

and your friend tries to give you a green-and-blue polka dotted

hat, that would be a material breach.

     If you determine that either or both parties breached the

contract, you must next determine whether the breach was

material.     To determine whether any breach in this case was

substantial enough to be material, you may consider a number of

                                    l5
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 16 of 47




factors:   how significant the failure to perform was; the effect

of that party's failure to perform on the contract's overall

purpose; how willful the breach was; and how much the injured

party had in fact already benefitted under the contract prior to

the breach.

     If you find that one party materially breached the written

License Agreement or the alleged oral contract for repayment of

hosting fees, you may find that the other party was relieved of

its obligation to perform any further under that agreement.             In

other words, if you find that SSL committed anyone of the

breaches alleged by SMS, and that the alleged breach was

material, you may find that SMS did not have to perform its

obligations under the contract.      Similarly, if you find that SMS

committed anyone of the breaches alleged by SSL, and that the

alleged breach was material, you may find that SSL did not have

to perform its obligations under the contract.




                                   16
 Case 1:10-cv-01593-KBF-DCF   Document 86    Filed 11/07/12    Page 17 of 47




          5.    Both Sides Are Alleging the Other Breached the
                Contract
     Let me go over that point I just made again.             Here, both

parties allege breach of contract by the other party: SMS

alleges that SSL breached the License Agreement and an alleged

oral contract relating to hosting fees, and SSL alleges that SMS

breached the License Agreement.        It is possible for you to find

that one party breached a contract, that both parties breached a

contract, or that neither party breached a contract.

     In a moment, I will review the specific breaches that each

side alleges the other committed.




                                  17
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 18 of 47




             6.   BMB's Breach of Contract Claim(s) Against BBL

     With respect to BMB' breach of contract claims, BMB must

prove by a preponderance of the evidence that first, an oral

contract for repayment of hosting fees existed; the parties

agree that the License Agreement was a contract.          Next, if BMB

has carried its burden of proof in that regard, you must

determine whether BMB has proven by a preponderance of the

evidence that it complied with its obligations, in all material

respects, under both contracts at issue:        the oral agreement

relating to the repayment of hosting fees and the License

Agreement.

     If BMB did not fulfill its material obligations under the

contracts prior to the time of any alleged breach by BBL, then

BMB cannot prevail in its breach of contract claims against BBL

(because BMB would, in effect, have breached the contract(s)

first, relieving BBL of its obligation to perform).           Put another

way, if BMB cannot show that it performed or was ready, willing,

and able to do anything material that the contracts required of

it prior to BBL's alleged breach, then BMB cannot prevail on its

breach of contract claims.

     BMB claims BBL breached the License Agreement both before

the agreement was terminated and after it was terminated, in the

following ways:



                                   18
Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 19 of 47




         a.   refusing to cooperate with SMS in the formation

              of new contracts with new clients after January

              1, 2010, unless SMS (i) made payments, and

               (ii) made amendments to the parties' existing

              agreement, none of which SMS was obligated to

              makei

         b.   delaying or denying service by SSL to SMS

              customers, after January 1, 2010, unless SMS

               (i) made payments and (ii) made amendments to the

              parties' existing agreement, none of which SMS

              was obligated to make;

         c.   demanding a new (more favorable) contract from

              SMS, in place of the parties' existing agreement,

              by use of coercive tactics, including that SMS

               (i) make payments and (ii) make amendments to the

              parties' existing agreement, none of which SMS

              was obligated to make;

         d.   overbilling and rendering false or unwarranted

              invoices to SMS and, after January 1, 2010,

              insisting on payments of amounts not due to SMS

              under such invoices;

        e.    overbilling and rendering false or unwarranted

              invoices to SMS and doing so without accounting



                                 19
Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 20 of 47




              for any set-off or recoupment of the hosting fees

              SMS had paid on behalf of SSL;

         f.   overbilling and rendering false or unwarranted

              invoices to SMS and doing so without accounting

              for any set-off or recoupment of the hosting fees

              SMS had paid on behalf of SSL and, after January

              1, 2010, insisting on payments of amounts not due

              to SMS under such invoices;

         g.   refusing to comply with agreements SSL had

              entered into to place the AIRSWEB source code in

              escrow;

         h.   as of early March 2010, after commencement of

              this lawsuit, locking SMS out of all of the

              shared SMS and SSL systems necessary for SMS to

              service existing customers and pursuing new ones,

              even after SMS demanded such access be restored;

         i.   after March 14, 2010, unilaterally moving SMS's

              hosted customer data from arrangements under

              contract by SMS and under SMS's control to other

              arrangements under SSL's exclusive control; and

         j.   after March 14, 2010, unilaterally moving SMS's

              hosted customer data from arrangements under

              contract by SMS and under SMS's control to other

              arrangements under SSL's exclusive control

                                 20
  Case 1:10-cv-01593-KBF-DCF     Document 86     Filed 11/07/12   Page 21 of 47




                without consent of SMS customers or of SMS

                itself.

     SMS claims that SSL breached the oral contract relating to

repayment of hosting fees by not repaying the hosting fees.

     It is up to you the jury to decide whether SMS has proven

by a preponderance of the evidence whether SSL breached either

or both contracts in the ways SMS alleges based on the evidence

that has been presented to you.

     If you find that SMS has proven by a preponderance of the

evidence that SSL did not adequately perform its obligations

under one or both contracts      l   but that SMS did perform its

obligations under the contracts        I   then you must consider whether

SMS has proven by a preponderance of the evidence that SSL/s

breaches were material.        If you find that SSL materially

breached one or both contracts and that SMS performed its

obligations under the contracts        I   then you should find that SMS

has proven the particular breach of contract you are

considering.   You must consider each contract separately.




                                       2l
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 22 of 47




            7.    SSL's Breach of Contract Claim(s) Against SMS
     With respect to SSL's breach of contract claim, SSL must

prove by a preponderance of the evidence that it complied with

its obligations under the License Agreement, in all material

respects.    If SSL did not fulfill its material obligations under

the terms of the Agreement prior to the time of any alleged

breach by SMS, then SSL cannot prevail in its breach of contract

claim against SMS (because SSL would, in effect, have breached

the contract first, relieving SMS of its obligation to perform) .

Put another way, if SSL cannot show that it performed or was

ready, willing, and able to do anything material that the

Agreement required of it prior to SMS' alleged breach, then SSL

cannot prevail on its breach of contract claim.

     SSL claims that SMS breached the License Agreement in the

following ways:

            a.    not paying SSL for technical assistance it

                  provided to SMS' customers at SMS' request

                  pursuant to Section 5 of the Agreement;

            b.    not providing royalty statements pursuant to

                  Section 9 of the Agreement;

            c.    not paying SSL royalties on a quarterly basis

                  within 30 days of the end of each quarter

                  pursuant to Section 9 of the Agreement;



                                   22
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 23 of 47




           d.   not paying SSL interest due to it under section 9

                of the Agreement for its late payments;

           e.   exploiting AIRSWEB products, in ways not

                authorized under section 2 of the Agreement;

           f.   not obtaining insurance coverage to indemnify SSL

                against all or any costs, claims, damages or

                expenses SSL incurred as a result of any breach

                of any of SMS' obligations under the Agreement,

                in violation of Section 3 of the Agreement;

           g.   encouraging its employees to steer work to SSL's

                competitor--Rivo Software--and away from SSL to

                Rivo while the Agreement was still in effect, in

                violation of Section 3 of the Agreement; and

           h.   permitting and encouraging its employees to

                provide Rivo with SSL's confidential information,

                in violation of Section 8 of the Agreement.
     It is up to you the jury to decide whether SSL has proven

by a preponderance of the evidence that SMS breached the

Agreement in the ways SSL alleges based on the evidence that has

been presented to you.

     If you find that SSL has proven by a preponderance of the

evidence that SMS did not adequately perform its obligations

under the Agreement, but that SSL did perform its obligations

under the Agreement, then you must consider whether SSL has

                                   23
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 24 of 47




proven by a preponderance of the evidence that SMS's breaches

were material.   If you find that SMS materially breached the

Agreement and that SSL performed under the Agreement, then you

should find that SSL has proven a breach of contract by a

preponderance of the evidence.




                                  24
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 25 of 47




     B.     Quantum Meruit

     Both SMS and SSL have claimed that even if it did not

breach a particular contract, it is nevertheless entitled to

"quantum meruit."    "Quantum meruit" translates into a phrase

that means "the amount deserved."       The legal doctrine of quantum

meruit allows compensation for a party who performs services for

another without a contract so long as the party provided

services in circumstances implying that both parties understood

that the performing party would be paid.

     SSL claims that if you find that SMS did not breach the

License Agreement, it is nonetheless entitled to recover under a

theory of quantum meruit.      SMS claims that if you do not

determine that it had an oral contract with SSL regarding

repayment of hosting fees, then it is entitled to repayment

under a quantum meruit theory.

     To prove their respective quantum meruit claims, each party

must prove by a preponderance of the evidence the following four

elements:

     First, that it performed the services in good faith;

     Second, that it expected to be compensated, and that such

expectation was reasonable;

     Third, that the other party accepted the services; and




                                   25
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 26 of 47




     Fourth, that the circumstances were such that it would be

inequitable for the other party to enjoy the benefits of its

services without compensating it.

     If either party fails to prove any of these four required

elements by a preponderance of the evidence, you must find the

other party not liable on the quantum meruit claim.           If,

however, a party proves each of the four elements by a

preponderance of the evidence, then you must find the other

party liable on the quantum meruit claim.

     However, the existence of a valid contract covering the

same subject matter of a quantum meruit claim precludes recovery

for quantum meruit.    If you find that the oral agreement

relating to repayment of hosting fees did not exist or that the

License Agreement does not cover the money each party alleges it

is owed, or that the amount of compensation was unclear, then

the party may recover on its quantum meruit claim, if it has

otherwise proven the necessary elements.




                                  26
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 27 of 47




      C.   SSL's Claim of Personal Liability of Ducker (Piercing
           the Veil)

           1.    Corporate Veil Piercing: Generally

     SMS is a corporation owned by Christein Ducker.           Ducker was

also an officer of SMS.

     As a general rule, owners of a corporation are not liable

for a corporation's debts.     That is because corporations have

their own legal identities, and are assumed to operate

independently of their shareholders, officers, and directors.

This separate identity is sometimes referred to as a "corporate

shield."   We also refer to this shield protecting corporate

shareholders, officers, and directors from liability as the

"corporate veil."   The fact that a corporation can generally

shield its shareholders, officers, and directors from liability

serves to encourage business development.       Under certain

circumstances, however, a court may pierce through--or get

through--the corporate veil and thereby hold the shareholders,

officers, and directors of a corporation personally liable for

the corporation's debts.

     Here, SSL claims that the corporate veil of SMS should be

pierced and, thereby, that Ducker should be held personally

liable for SMS' debts.     In order to prevail on this veil

piercing claim, SSL must prove by a preponderance of the

evidence that:

                                  27
Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 28 of 47




   (1)   Ducker exercised complete domination over SMS;

   (2)   Ducker used such domination to commit a fraud or

         wrong;

   (3)   that the fraud or wrong injured SSLi and

   (4)   the need to protect those who dealt with SMS,

         including SSL, outweighs society's interest in

         honoring SMS's corporate form.




                                28
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 29 of 47




           2.   Veil Piercing: First Element: Existence of
                Domination
     To determine whether an individual dominates a corporation,

you may consider factors that tend to show a corporation is

dominated, such as the following:

     (l)   the absence of the formalities that are part and

           parcel of the corporate existence, such as the

           issuance of stock, election of directors, and the

           keeping of corporate records;

     (2)   inadequate capitalization, that is, whether the

           corporation had sufficient funds to manage its

           business and pay its debts, and whether it had

           adequate funds in relation to the nature of the

           business of the corporation and the risks that

           business necessarily entails;

     (3)   whether the individual put in or took out funds from

           the corporation for personal rather than corporate

           purposes;

     (4)   the role the individual played in corporate affairs,

           including whether she owned the corporation or served

           as an officer, director, or employee of the

           corporation;

     (5)   whether the individual and corporation shared office

           space, or an address and telephone number;


                                  29
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 30 of 47




     (6)   the amount of business discretion displayed by the

           corporation independent of the influence of the

           individual;

     (7)   whether the individual dealt with the corporation at

           arms' length;

     (8)   whether the corporation and the individual functioned

           as if they were independent profit centers;

     (9)   whether the individual paid or guaranteed debts of the

           corporation; and

     (10) whether the individual used corporate property as if

           it were his own.

     When a corporation is dominated by an individual it means

that it operates as a mere instrumentality of the individual,

and it is the individual and not the corporation who is the real

actor.




                                   30
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 31 of 47




          3.     Veil Piercing: Second and Third Elements: Use of
                 Domination to Commit a Fraud or Wrong
     In terms of the second element of a veil piercing claim,

SSL must prove by a preponderance of the evidence that Ducker,

through her alleged domination of SMS, abused the privilege of

doing business in the corporate form to perpetrate a wrong or

injustice against SSL.    The wrong or injustice can include a

breach of a legal duty, or a dishonest or unjust act.

     SSL asserts that the wrong or injustice Ducker engaged in

was the nonpayment of royalties and other monies SSL alleges

were required that SMS should have paid it under the License

Agreement or under its quantum meruit theory.

     In order for SSL to prevail on this claim, it must prove by

a preponderance of the evidence that Ducker's domination of SMS

has been used to commit a fraud or wrong.       To make the required

showing, SSL first must prove by a preponderance of the evidence

that SMS owed royalties or other monies to SSL.         If you do not

find that SSL has met its burden of showing that royalties or

other monies were owed to SSL by SMS, you must stop there and

find no liability on this issue.

     However, if you find that SMS in fact owed royalties and/or

other monies to SSL, then you must determine whether Ducker so

dominated SMS as to be personally liable for failure to make

such payments.   You need not find that Ducker's domination


                                   31
  Case 1:10-cv-01593-KBF-DCF   Document 86     Filed 11/07/12   Page 32 of 47




caused the non-payment of both the royalties and other monies

allegedly owed under the License Agreement, but you must find

that her domination of SMS caused of one of those two things

(~,       royalties or other monies allegedly owed), and you must

be unanimous as to which one.

     In this context, what does it mean to "cause" something to

happen?    SSL must prove by a preponderance of the evidence that

Ducker caused SMS not to pay royalties and/or other monies

allegedly owed by showing that Ducker's domination of SMS was a

substantial factor in bringing about the alleged non-payment of

such royalties and monies.     That is, if Ducker's actions had

such an effect in producing the non-payment that a reasonable

person would regard her actions as a cause of the injury, then

SSL has met its burden on this issue.

     It is not necessary for Ducker's conduct to be the sole or

even dominant cause of such non-payment in order for her to be

personally responsible for such payments if all of the other

elements of this claim have been met.         You should understand

that there can be more than one cause operating separately or

together with others so as to cause the injury to SSL, and each

may be regarded as a cause as long as each is a substantial

factor in bringing about the injury.         Of course, not every

injury that follows an action necessarily results from that

action.    SSL has the burden of proving by a preponderance of the

                                  32
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 33 of 47




evidence that any injury you find it suffered was caused by

Ducker's domination of SMS.




                                  33
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 34 of 47




             4.   Veil Piercing: Fourth Element: Balancing the
                  Purposes of Limited Liability
        As I mentioned, corporations have their own identity under

the law, and are presumed to exist independently of their

shareholders, officers, and directors.       An   important aspect of

this independence is that the corporation is liable for its own

debts.     If a corporation owes money on a contract, under normal

circumstances its officers, directors, and shareholders would

not be liable for that debt.     These important principles of law

help encourage investment in corporations and the development of

our economy.

        But those who deal with corporations need protection, too.

Sometimes, we disregard the independence of the corporation and

hold its owners liable in order to protect investors or those to

whom the corporation owes a debt.      As we have been discussing,

this is called \\piercing," or breaking through, the corporate

veil.     Essentially, it means disregarding the corporate

structure.

        It is up to you to decide, given the totality of the

evidence as it has been presented to you, whether the facts of

this case justify piercing the corporate veil and therefore

holding Ducker personally liable for any damages you may find

SMS owes to SSL.    To make this decision, again, you must ask

whether this is a case where the need to protect those who dealt


                                  34
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 35 of 47




with a corporation that was dominated by an individual to their

detriment in the ways I have described outweighs the need to

encourage the type of business development that occurs due to,

in part, the limitations on personal liability that the

corporate form provides.




                                  35
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 36 of 47




III. DAMAGES

     A.   Consider Damages Only If Necessary

     If you conclude that a party has met its burden of proving

liability with regard to a claim that it has asserted, then you

must determine the damages to which it is entitled.           You should

not infer that either party is entitled to recover damages

merely because I am instructing you on how to calculate damages.

It is exclusively your function to decide whether either party

is liable to the other or any claim, and I am instructing you on

damages only so that you will have guidance should you decide

that damages are warranted.




                                  36
  Case 1:10-cv-01593-KBF-DCF   Document 86    Filed 11/07/12   Page 37 of 47




     B.   pUrpose of Damages

     The purpose of the law of damages is to award, as far as

possible, just and fair compensation for the loss, if any, which

resulted from a violation of one's legal rights.           If you find a

party liable on a claim asserted against it, then you must award

the other party sufficient damages to compensate it, for any

injury caused by the conduct of the other party--and vice-versa.

     The damages that you award must be fair and reasonable,

that is, they should be neither inadequate nor excessive.             You

should not award damages based on speculation, but only for

those injuries that may have been proven according to the

standards that I have described to you.

     If you decide to award damages, you must be guided by

dispassionate common sense.     Computing damages may be difficult,

but you must not let that difficulty lead you to engage in

arbitrary guesswork.    On the other hand, the law does not

require a party to prove the amount of its losses with

mathematical precision, but only with as much definiteness and

accuracy as the circumstances permit.        Although you should make

every effort to calculate damages with reasonable certainty,

absolute certainty as to amount is not required.          In all

instances, you are to use sound discretion in fixing an award of

damages, drawing reasonable inferences where you deem

appropriate from the facts and circumstances in evidence.             In

                                  37
 Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 38 of 47




calculating damages, do not add any amount for interest.            The

Court will do that automatically.




                                  38
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 39 of 47




     C.   Breach of Contract Damages

     The basic principle of damages in a contract action is to

leave the injured party in as good a position it would have been

if the contract had been fully performed.       A party asserting

breach of contract must establish by a preponderance of the

evidence that the breach or breaches caused the damages claimed.

     Therefore, for any alleged breaches you may have found one

party or the other to have committed, you must tie them to

certain damages--or amounts--claimed by the party you have

determined has been injured by a breach of contract.           Please

note that although the materiality of a breach is relevant to

whether or not a party may cease performing under a contract, it

is not a requirement for determining whether a party may receive

compensation for a breach.     As a result, you may also award

damages for non-material breaches if you find that a party was

damaged by the other party's non-material breach.




                                  39
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 40 of 47




      D.   Set-Off

     If you find that one party breached the License Agreement

and that it owes money damages to the other, you should bear in

mind that the breaching party may have already paid the other

party some of what is owed under the particular contract.            This

is called a "set-off."    If you find by a preponderance of the

evidence that the breaching party in fact paid some amounts

claimed by the other party under a contract, you may deduct

those amounts from the total amount{s) owed.




                                   40
   Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 41 of 47




        E.   Breach of Contract: SKS' Claim for Lost Profits

        SMS' has alleged two types of damages claims:          (1) lost

profits relating to revenues it did not receive for customers it

had or believed it would have gotten but for SSL's alleged

breach (es) of the License Agreement and future revenues relating

to hosting fees for those customers; and (2) damages for

repayment of hosting fees it asserts that SSL owed it pursuant

to an oral contract.

        Let's discuss the claim for lost profits.       Loss of profits

as damages for breach of contract are permitted if the party

proves that (1) such damages were caused by a breachi (2) the

loss is capable of proof with reasonable certaintYi and (3) the

particular damages were fairly within the contemplation of the

parties to the contract at the time it was made.

        As I said a moment ago, here, SMS is claiming lost profits

derived from two separate revenue streams: (1) future royalties

that it can no longer collect from the u.s. customers to which

it licensed or was reasonably likely to license AIRSWEBS

software but for SSL's alleged breach of contract; and (2) loss

of its mark-up on the hosting charges it received from its

customers.

        To find that SMS is entitled to lost profits, you must

find:    (1) that SMS demonstrated with reasonable certainty that

profits derived from lost royalties and the hosting charges were

                                   41
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 42 of 47




caused by SSL's breach; (2) the alleged lost profits derived

from royalties and loss of hosting charges are capable of proof

with reasonable certainty; and (3) the SMS' receipt of future

royalties and hosting charges were fairly within the

contemplation of both SSL and SMS at the time the License

Agreement and/or oral contract were entered into.

     If you find, however, that SMS was operating "at a loss,"

it cannot be awarded damages for lost profits because there is

no history of profits on which to base an award.




                                  42
 Case 1:10-cv-01593-KBF-DCF    Document 86   Filed 11/07/12   Page 43 of 47




     F.      Breach of Contract Damages: SSL's Claims

     SSL/s damages claim consists of the royalties allegedly not

paid by SMS and the other monies allegedly owed to it by SMS

under the License Agreement.       SpecificallYI SSL alleges that it

is owed [INSERT - PROVIDED BY SSL] for the technical assistance

it provided to SMS   1
                         customers at SMS' request, [INSERT ­

PROVIDED BY SSL] in royalty payments never made, and [INSERT

PROVIDED BY SSL] for the royalty payments lost as a result of

SMS' and Ducker's steering business to Rivo Software.              Although

SSL has made claims for the amounts I just described          l   you must

still determine the amount by which SSL proved it was damaged by

a preponderance of the evidence.

     SSL also claims interest on the late royalty payments made

by SMS.   Although you do not need to calculate the amount of

interest, if you found that SMS made late royalty payments to

SSL, you must determine the amount of royalty payments that SSL

has proven by a preponderance of the evidence were made

belatedly.    You need not calculate interest itself; if

necessary, the Court will do that.




                                    43
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 44 of 47




     G.   Quantum Meruit Damages

     SMS and SSL have both made claims for damages under a

doctrine called "quantum meruit."      As I discussed with you

earlier, quantum meruit allows compensation for a party who

performs services for another without a contract so long as the

party provided services in circumstances implying that both

parties understood that the performing party would be paid.

     If you have found that either party proved its quantum

meruit claim by a preponderance of the evidence and that it

proved that a contract does not cover the subject matter of its

quantum meruit claim, you may consider whether that party proved

the reasonable value of the services that it performed.            The

party asserting the claim for damages for quantum meruit is

required to prove the reasonable value of its claim by a

preponderance of the evidence.




                                  44
  Case 1:10-cv-01593-KBF-DCF   Document 86     Filed 11/07/12   Page 45 of 47




         H.   Duty to Mitigate Damages

     A party which has suffered injury as a result of a breach

of contract has a duty to use reasonable diligence and

reasonable means, under the circumstances, to take advantage of

any reasonable opportunity it may have to reduce or minimize its

loss or damage.      It is an opposing party's burden, however, to

prove by a preponderance of the evidence that the injured party

could have lessened its damages or that its reasonable efforts

would have reduced the damages.         The injured party is only

required to make a reasonable effort to mitigate damages and

does not need to take on additional risk, burden, or expense to

do so.

     If you determine that SSL breached the License Agreement or

alleged oral contract (and that SMS had fully performed under

either contract), you must determine if SMS could have--and did­

-mitigate its damages that resulted from that breach.            The same

applies to SSL's ability to mitigate damages if you determine

that SMS breached the License Agreement.




                                   45
  Case 1:10-cv-01593-KBF-DCF   Document 86    Filed 11/07/12   Page 46 of 47




IV.   CONCLUDING REMARKS

      The most important part of this case, members of the jury,

is the part that you as jurors are now about to playas you

deliberate on the issues of fact.

      As you deliberate, please listen to the opinions of your

fellow jurors, and ask for an opportunity to express your own

views.   Every juror should be heard.

      Your decision must be unanimous.       You are not to reveal the

standing of the jurors, that is, the split of the vote, to

anyone, including the Court, at any time during your

deliberations.   Finally, I say this, not because I think it is

necessary, but because it is the custom in this courthouse to

say this: you should treat each other with courtesy and respect

during your deliberations.

      During your deliberations, you will have the exhibits

available to you.   You may also ask for portions of the

testimony, but please try to be as specific as you can in

requesting testimony.

      If you have questions for the Court, just send me a note.

As I said, you have a copy of this set of instructions to take

with you into the jury room.

      Your first task will be to select a foreperson.          The

foreperson has no greater voice or authority than any other



                                  46
  Case 1:10-cv-01593-KBF-DCF   Document 86   Filed 11/07/12   Page 47 of 47




juror but is the person who will communicate with the Court when

questions arise.




                                  47
